    Case 1:22-cv-10019-JSR Document 96-4 Filed 04/28/23 Page 1 of 13




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         Case 1:22-cv-10019-JSR   1 Entered on FLSD
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                                                      04/28/23  Page 2 of Page
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         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 3 of Page
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         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 4 of Page
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 5 of Page
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 6 of Page
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 7 of Page
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 8 of Page
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 9 of Page
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        Case 1:22-cv-10019-JSR   1 Entered
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                                        96-4        Docket 03/31/2010
                                              Filed 04/28/23 Page 10 ofPage
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Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 11 ofPage
                                                                           13 10 of 12
Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 12 ofPage
                                                                           13 11 of 12
Case 9:10-cv-80447-KAM   DocumentDocument
         Case 1:22-cv-10019-JSR   1 Entered on FLSD
                                          96-4  Filed Docket 03/31/2010
                                                      04/28/23  Page 13 ofPage
                                                                           13 12 of 12
